Case 23-16890 Doci_ Filed 09/26/23 Pagelof5

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United States Bankruptcy Court for the:

District of Maryland

(State)
Case number (if known) Chapter 7 L) Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name Exquisite Lifestyle Day Spa LLC

2. Allother names debtorused None

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor’s federal Employer 8 2 257165 5 4
Identification Number (EIN) TT

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

2939 Jessup Road

Number Street Number Street
P.O. Box
Jessup MD 20794 Jessup
City State ZIP Code City State ZIP Code

Location of principal assets, if different from

rincipal place of business
Anne Arundel 7 oo

County
Number Street

City State ZIP Code

5. Debtor’s website (URL)

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 23-16890 Doci Filed 09/26/23 Page2of5

Debtor

Exquisite Lifestyle Day Spa LLC Case number wrinowi

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box,

Official Form 201

a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
C) other. Specify:

A. Check one:

(2 Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Railroad (as defined in 11 U.S.C. § 101(44))

CI] Stockbroker (as defined in 11 U.S.C. § 104(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))

U4 None of the above

B. Check ail that apply:

Cy Tax-exempt entity (as described in 26 U.S.C. § 501)

C) Investment company, inciuding hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www. uscourts .qov/four-digit-national-association-naics-codes .
812113

Check one:

4 Chapter 7
L) Chapter 9
C) Chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B)

L) The debtor is a debtor as defined in 11 U.S.C § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Qha plan is being filed with this petition

Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

U) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 23-16890 Doci_ Filed 09/26/23 Page 3of5

Exquisite Lifestyle Day Spa LLC Case number themed

Name

Debtor

9. Were prior bankruptcy cases (no
filed by or against the debtor
within the last 8 years? L) Yes District When Case number
MM/ DD/YYYY

If more than 2 cases, attach a

separate list. District When Case number

MM/ DD/YYYY

10. Are any bankruptcy cases Wf No
pending or being filed by a
business partner or an UL) Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1, MM / DD /YYYY

attach a separate list. Case number, if known

11. Why is the case filed in this Check all that apply:

district? . a i . _ eo
a Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district

Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district

12. Does the debtor ownorhave (4No

possession of any real Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed
property or personal property

that needs immediate Why does the property need immediate attention? (Check aif that apply.)

attention?

OC) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety

What is the hazard?

C) It needs to be physically secured or protected from the weather.

CI It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CY other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?

LC] No

LI} Yes. Insurance agency

Contact name

Phone

ae Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 23-16890 Doci Filed 09/26/23 Page4of5

Exquisite Lifestyle Day Spa LLC

Name

Debtor Case number (f inant)

13. Debtor’s estimation of Check one:

available funds 4 Funds will be available for distribution to unsecured creditors

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Wi 1-49

Q) 50-99
L) 100-199
LJ 200-999

C) $0-$50,000

WZ $50,001-$100,000
CJ $100,001-$500,000
C) $500,001-$1 million

CJ $0-$50,000

L) $50,001-$100,000
1 $100,001-$500,000
CJ $500,001-$1 million

L) 1,000-5,000
Q) 5,001-10,000
L) 10,001-25,000

CJ $1,000,001-$10 million

CQ $10,000,001-$50 million
L) $50,000,001-$100 million
Q) $100,000,001-$500 million

CI $1,000,001-$10 million

LJ $10,000,001-$50 million
CJ $50,000,001-$100 million
CJ $100,000,001-$500 million

CL) 25,001-50,000
LJ 50,001-100,000
() More than 100,000

CL) $500,000,001-31 billion

L) $1,000,000,001-$10 billion
OQ) $10,000,000,001-$50 billion
CJ More than $50 billion

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
CJ More than $50 billion

| Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.
| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct

| declare under penalty of perjury that the foregoing is true and correct

09/26/2023
MM /DD /YYYY

X /s/ Lanh Hoang

Signature of authorized representative of debtor

Executed on

Lanh Hoang

Printed name

Title Sole Member

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 23-16890 Doci_ Filed 09/26/23 Page5of5

Exquisite Lifestyle Day Spa LLC

Debtor ‘ Case number (if known)
18. Signature of attorney X /s/ Niti Crupiti Date 09/26/2023

Signature of attorney for debtor MM /DD /YYYY
Niti Crupiti
Printed name
Firm name
600 Jefferson Plaza, Suite 308
Number Street
Rockville MD 20852
City State ZIP Code
30199491622 niticrupiti@crupitilaw.com
Contact phone Email address
FED Bar 08966 Maryland
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page §
